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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA §
                                               §
VS. § Criminal No. 6:19-CR-56
                                               §
PAMELA SUE HANNAN (1) §

                                            ORDER

       Because the above-names Defendant has testified under oath or has otherwise satisfied this

court that she (1) is financially unable to employ counsel, and (2) does not wish to waive counsel,

and because the interests of justice so require, the Federal Public Defendant is appointed to represent

this person in the above-designated case.

       The appointment shall remain in effect until terminated or a substitute attorney is appointed.

       So ORDERED and SIGNED this 22nd day of October, 2019.




                                                       kim iTy c.priestjohnson
                                                       UNITED STATES MAGISTRATE JUDGE.
